n 1 " Case 3:14--Cr 02928- CAB Document 41 Filed 01/23/15 Page|D. 138 Page 1 of 2 l
AO 245B (CASDRev. 08/'13) Judgment` 1n a Criminal Case

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA§Y' 0 §§§ -§§23 §)§§§ § §§g

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASCE‘H
V_ (For Offenses Committed 011 6r -Afte'r` Novehib‘e‘r ‘l“ '1987)
JUAN CARLOS HERNANDEZ-PEREZ ¢»\ 0 "-
Case Number: l4CR2928-CAB papa-rv
MATTHEW FLEMING, FEDERAL DEFENDERS, INC.
Defendant’ s Attorney
REGISTRATION No. 48274298
|:1 _
THE DEPENDANT:

114 pleaded guilty to count(s) ONE (l) OF THE ONE-COUNT INFORMATION

l:l was found guilty on count(s)

. § after a plea of not guiltv. '
Accordmgly, the defendant` 1s adjudged guilty of such count(s), which involve the following offense(s):

 

 

 

_ ' Title & Section Nature of Off'ense

8 USC1324(=1)(2)(B)(iii) BRn~JGrNG 1N 1LLEGAL ALIEN WITHOUT PRESEN1ATION- ` -7 -1
_ and 18.USC 2 AND AIDING AND ABETTING _ .. 7 . `
The defendant is sentenced as provided in pages 2 through 2 of this judgment. 7 § _

The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

l:l The defendant has been found not guilty on count(s)

 

|:l Count(s) ' is dismissed on the motion of the Uni1ed _States. 7

 

Asse_ssment : $100.00 _ Waived.

l No fine l:] Forfeiture pursuant to order filed 5 _ , included herein
IT IS ORDERED that the defendant shall notify the United States Attorney for this district Within_ _3_0 days of any -
. change of name, residence, or mailing address until all fines, restitution, eosts, and special assessments lmposed by. this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and Unlted States Attorney of
` any material change 1n the defendant’ s economic circumstances ,§ - , \. 1 `

Januarv 23. 2315 -

Date of Impcyjtin of Sentenee __§

HON. CATHY ANN BENCIVENGO §. §
UNITED STATES DISTRICT- JUDGE 7

' 14131`<29-28'-1_:-§{13 -

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- DEFENDANT: JUAN CARLOS HERNANDEZ-PEREZ Judg_m_ent - Page 2 of 2
CASE NUMBER: l4CR2928-CAB ` `

IMPRISONMENT
The defendant ls hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
TIME SERVED (136 DAYS).

Sentence imposed pursuant to Title 8 USC Section 1326(b).
The court makes the following recommendations to the Bureau of Prisons:

|:ll:|

|:| v The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:
_ _ I:l 7 at A.M. on

 

 

|:| as notified by the United States Marshal.
_ l__.} The defendant shall surrender for service of sentence at the institution designated by t11e Bureau of
Prisons: - -
|:| on or before
§ . as notified by the United States Marshal.

` __l] as notified by the Probation or Pretrial Services Off`ice.

 

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant defivered on to
g at , with a certified copy of this judgment
UNITED sTA'rEs MARSHAL `_ '1'_2 §§ 5
» ' By DEPUTY UNITED'sTATE[sffl\'/MRSHA§L{ ` ` `

` _,_1"4¢1'1__2928-01113

